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Un|ted Stales Courls
. , Sou!hern Dls!r|ct of Texas
UNITED STATES DISTRICT COURT ‘ t Fl L E o '
soUTHERN DISTRICT 0F TEXAS v SEP 20 2010
' . Dev|d J. Bradley
ViCToRIA DIVISION 01qu of.courr
UNITED sTATEs op AMERICA §
. _ §
v. § CRMNAL NUMBER; v-16-4-SSSS
§ _
§ q q 1
RAUL BELTRAN, JR. § Sj L_E=B_ _
EI')WARD BELTR'AN § _/ l _./ _ } 3
AKA LALo § w( /\) )
RoLANDo GARCIA - ' § \M\SQCK\ l " )
AKAFLAco § 4 .
sEcoND REDACTED

_ FOURTH SUPERSED]NG INDIC.TMENT
THE GRAND JU`RY cHARGEs` THAT.»
COUNT ONE
Between on or about 2007, and on or about December 4, 2014, in the Southern'District_of
Texas and elsewhere within the/jurisdiction of the Court, the defendants,
RAUL BELTRAN, JR.,

EDWARD BBLTRAN AKA LALO, and .
ROLANDO GARCLA AKA FLACO, »

did knowingly and intentionally conspire and agree together, with each other, and with other

persons known and unknown to the Grand Jury, to possess with intent to distribute a controlled

substance Thia violation involved more than one thousand (1,000) kilograms of marihuana, a
. Schedule' I controlled substance.. h

In violation of Title 21, United States Code, Sections 846, 841(a)(l), and 84l(b)(l)(A).

 

 

 

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` ` NOTICB OF CRIMINAL FORFEITURE
Pursuant to Title 21, United States Code, Section 853, the United States gives notice to

the defendants,`

RAUL BELTRAN, JR.,
and EDWARD BELTRAN AKA LALO,

that in the event of conviction of an offense in violation of Title il , United States Code, Section
'846, as charged in Count One of tliis indictment, tlie:following is subject to forfeiture:
(l) all property constituting, or derived i`rom, any proceeds obtained, directly or
indirectly, as the result of such offense; and
(2) » all property used, or intended to be used, in any manner on part; to
v commit, or to facilitate the commission oil such offense v
Propertl§\_ibiect to Forfew
'I"he property subject to forfeiture includes, but is not limited to, the following
The real property, including all imi)rovements and appurtenances, located at 5'8
La Sagunada Rd., Rio Grande City, Texas 785 82, and legally described as:

A TRACT OF LAND CONTA'INING 1.553 ACRES OUT OF AND FOR.M]NG A PART OR
PORTION OF~PARCEL NO. 4 OF THE D.G. WOOD TRACT AN THE G. PHILLIP
WARDNER, TRUSTEE, TRACT OR PORCION NO. 84, ANCIENT JURISDICTION OF
CAMARGO, MEXICO,.NOW STARR COUNTY, TE)Q\S, AND BEING MORE
PARTICULARLY DESCRIBED BY METES AND BOUNDS;

AND '

THE SURFACE AND THE SURFACE ONLY 8.45 OUT OF TEN (10) ACRES OF LAND,
MORE OR`LESS, OU,T OF AND FORMING PART AND PORTION OF THE D.G_. WOODS
TRACT AND THE G. PHILIP WARDNER TRACT, OUT OF PORCION NO. EIGHTY-FOUR
(84), ANCIENT JURISDICTION OF CAMARGO, NOW SITUATED IN STA-RR COUNTY,
TEXAS, AND BEING MORE PARTICULARLY DESCRIBED BY METES AND BOUNDS

. AS FOLLOWS, TO-WIT:

BEGH\INING AT AN IRON ROD UNDER FENCE IN THB D.G. WOOD TRACT, FOR S.E.
CORNBR HEREOF, WHICH ROD AND CORNER ARE DISTANT S, 08* 09 ’ 43”., 16,314.65

 

 

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FEET FROM THE N. B. CORNER OF THE D. G WOOD TRACT AND THE N. W CORNER
OF SHARE NO. 83 OF PORCION NO. 84 ANCIENT .TURISDICTION OF CAMARGO,
MEXICO, NOW STARR COUNTY, TEXAS_;

THENCE ACROSS THE D.G. WOOD TMCT AND THE G. PH[LIP WARDNER TRACT, N.
80* 45 ’ W., 1948.3 FEET TO AN IRON ROD SET ON THE EAST R.O.W. EASEMENT OF
LA SAGUNADA ROD, FOR S,W. CORNER HEREOF;

THENCE WITH THE EAST R.O.W. EASEMENT OF ROAD, N. 23* 49’ 48” W., 257.5'7
FEET TO AN IRON ROD, FOR N.W. CORNER HEREOF;

THENCE S. 80’*‘ 45’ E., 2089.14 FEET TO AN IRON ROD, FOR N.E. CORNER HEREOF§

THENCE FOLLOWING FENCE, S. 09* 15’ E., 215 .79 FEET TO THE PLACE OF
BEGINN]NG AND CONTAINING WITH]N THESE l\/IETES AND BOUNDS 10.0 ACRES

_OF LAND, MORE OR LESS.

In the event that a condition listed in Title 21, United States Code, Section 853(p) exists,
the United States will seek to forfeit any other property of the defendants in substitution up to the

total value of the property subject to forfeiture The United States may seek the imposition of a

 

money judgment

,_.__ ._ ___ . _,_____. _ _»~. .,. ._ '_ _..,__ .___..` ..,~,.._.. _l_~.`

5 A TRuE BILL
0RIGINAL SIGNATURE oN FILE
FoREPEnsoN oF THE GRAND JURY

RYAN K. PATRICK
UNITED STATES AT'I`ORNEY

By; ®@QH¢¢M%MUL)

PATTI HUBERT BOOTH
Assistant United States Attorney

 

